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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA, et al.,

         Plaintiffs,                           Case No. 1:20-cv-03010-APM

        v.                                     HON. AMIT P. MEHTA

 GOOGLE LLC,

         Defendant.

 STATE OF COLORADO, et al.,

         Plaintiffs,                           Case No. 1:20-cv-03715-APM

        v.                                     HON. AMIT P. MEHTA

 GOOGLE LLC,

         Defendant.


                                  [PROPOSED] ORDER

       Upon consideration of Third-Party Samsung Electronics America, Inc.’s Motion for

Admission Pro Hac Vice for Rosa M. Morales, and the accompanying Declaration of Rosa M.

Morales, it is hereby

       ORDERED that Third-Party Samsung Electronics America, Inc.’s Motion for Admission

Pro Hac Vice is GRANTED.

       SO ORDERED this ___ day of ____________________, 2023.




                                                 _______________________________
                                                 Hon. Amit P. Mehta
                                                 United States District Judge
